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ATTACHMENT P

Case 2:15-cV-O2091-WHW Document 4-16 Filed 05/15/15 Page 2 of 4 Page|D: 225
Case: 14-1825 Document: 003111729487 Page: 1 Date Filed: 09/05/2014

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Electl'onically Filed

Marcia M. Waldron, Clerk
United States Court of Appeals
21400 United States Courthouse
601 Market Street

Philadelphia, PA 19106-1790

Re: Unitcd States v. Danicl Jeulcins
Case No. 14-1825

Dear Ms. Waldron:

I write in response to the Conrt’s Order, dated September 4, 2014, to update the
Court and to clarify what appear to be misimpressions about my previous letter.

First, since receiving the Order, we have ordered the transcripts As I had
previously stated, we had not done so because defendant-appellant’s brother had
represented to us that he had already ordered and received the transcripts

Second, the Order states that I did not move, in response to the Order to Show
Cause, to withdraw from the case. That is correct. However, l had previously moved to
withdraw based on the potential conflict of interest, arising from Mr. Jenkins’ primary
claim for this appeal that my representation at the District Couit was constitutionally
ineffective, and the Court had denied my motion. Because there were no new facts or
legal authorities, there was no basis for a new motion.

Finally, at thc time of his plea in the District Court, Mr. Jenkins waived his right
to appeal. This is a threshold issue which the Court must address. See United Sfa!es v.
Erwin, Docket No. 13-3407.

 

 

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Marcia M. Waidron, Clerk
September 5, 2014
Page 2

Thank you for your consideration If you have any questions or need any
additional information, please do not hesitate to contact me.

  

Res ectf`ull

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MVG:pe
Enclosure
cc: Glenn S. Moramarcc, Esq,, AUSA

 

 

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what portion or what witness testimony ls desired.

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